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                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:07cr58
                                                  §            (Judge Schell)
 ZACHARY ALLEN BROWN (11)                         §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of six (6) months

 followed by a term of supervised release of twenty-four (24) months. The Court recommends that

 Defendant be housed in the Bureau of Prisons, Seagoville Unit. It is further

         ORDERED that within 72 hours of release from the custody of the Bureau of Prisons, the

 defendant shall report in person to the probation office in the district to which the defendant is

 released. It is further
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        ORDERED that while on supervised release, the defendant shall not commit another federal,

 state, or local crime, and shall comply with the standard conditions that have been adopted by the

 Court, and shall comply with the following additional conditions:

        The defendant shall pay a special assessment of $100. The special assessment is due
        immediately, payable by cashier’s check or money order, to the United States District Court
        and forwarded to the United States District Clerk’s Office, P.O. Box 570, Tyler, Texas
        75710.

        The defendant shall provide the probation officer with access to any requested financial
        information for purposes of monitoring employment.

        The defendant shall not illegally possess a controlled substance, and shall refrain from any
        unlawful use of a controlled substance.

        The defendant shall be required to submit to a drug test within 15 days of release on
        supervised release, and at least two periodic drug tests thereafter, as directed by the probation
        officer.

        The defendant shall participate in a program of testing and treatment for drug abuse, under
        the guidance and direction of the U.S. Probation Office, until such time as the defendant is
        released from the program by the probation officer.

        The defendant shall obtain his GED.


              .    SIGNED this the 19th day of March, 2010.




                                                              _______________________________
                                                              RICHARD A. SCHELL
                                                              UNITED STATES DISTRICT JUDGE




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